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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 FRANCISCO ROSELL,

 Plaintiff,

 vs.                                                Case No.: 10-24043-CV-LENARD/TURNOFF

 PENNCRO ASSOCIATES, INC.

 Defendants.
 ______________________________________/


                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                                 WITH PREJUDICE

         Having amicably resolved all matters in controversy and pursuant to Federal Rule of

 Civil Procedure 41(a)(1)(i), Plaintiff voluntary dismisses this action with prejudice.



 Dated: February 28, 2011                      Respectfully submitted,


                                               /s Andrew I. Glenn
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